Case No. 19‐30088‐DM

From: sandra berger <sanberg4360@gmail.com>
Sent: Monday, October 5, 2020 11:49 AM
To: Lorena Parada
Subject: Judge Dennis Montali

Your Honor

Although I’m a 86 year old woman without legal experience, I have been part of class action securities
litigations for many years and am familiar with the customary way these are handled. However, I’ve
never been so confused by the PG&E Securities action that has been taken thus far.

To begin with, when the papers were first sent to me I couldn’t figure out what was being asked for and
by whom, and for what purpose. I assumed that somewhere in the papers I could find out who was
representing me, as the purchaser of PG&E shares, but strangely, I couldn’t.

It’s only in the last few days that I’ve found out there isn’t anyone representing the class of purchasers
of PG&E securities…so far. Was I to think that Corporate PG&E was going to be looking out for me….or
themselves? Such a silly question.

This letter is to ask that you certify a class action so that I, and others like me, can be insured of our
rights to an equitable and fair distribution. I would agree to be part of a class action such as the one
sought by Labaton Sucharow LLP and hope it will soon be granted.

Sincerely,

Sandra Berger
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New York, NY 10003




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